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 9                           UNITED STATES DISTRICT COURT

10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                No. SA CR 15-63(A)-JLS

12             Plaintiff,                     GOVERNMENT’S OPPOSITION TO
                                              DEFENDANT’S MOTION TO SUPPRESS
13                   v.                       EVIDENCE; DECLARATIONS; EXHIBIT
                                              FILED SEPARATELY UNDER SEAL
14   TODD CHRISTIAN HARTMAN,
                                              MOTIONS HEARING:           10/16/15
15             Defendant.                                                11:00 A.M.
                                              ESTIMATE:                  1 HOUR
16

17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California, hereby files its opposition to defendant’s September 18,
21   2015 motion to suppress evidence.       This motion is based on the
22   attached Memorandum of Points and Authorities, attached declarations,
23   \\
24   \\
25   \\
26   \\
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 1   Exhibit 1 filed separately under seal, the files and records in this

 2   case and any further evidence or argument as may be presented at the

 3   hearing on the motion.

 4   Dated: September 24, 2015            Respectfully submitted,

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2        I. INTRODUCTION

 3        Defendant is currently charged in the first superseding

 4   indictment with two counts of transportation of child pornography, in

 5   violation of Title 18, United States Code, Section 2252A(a)(1),

 6   (b)(1) and one count of possession of child pornography, in violation

 7   of Title 18, United States Code, Section 2252A(a)(5)(B), (b)(2).

 8   Trial is scheduled for October 27, 2015.         On September 18, 2015,

 9   defendant filed a motion to suppress evidence arguing that all

10   evidence of statements made by defendant, and evidence derived from

11   those statements, be suppressed because they were obtained in

12   violation of Miranda v. Arizona, 384 U.S. 436 (1966), and were not

13   voluntary.    (Def. Mot. at 2).     Defendant was not in custody at the

14   time the statements were made, therefore, an advisement of rights

15   pursuant to Miranda was not required.        Accordingly, defendant’s

16   motion to suppress evidence should be denied.

17        II.     STATEMENT OF FACTS

18        On February 5, 2015, state and federal law enforcement executed

19   a search warrant at defendant’s residence.          (Decl. Speakman ¶ 3;

20   Decl. Syvock ¶ 3.)     Members of the Newport Beach Police Department

21   (“NBPD”) and Department of Homeland Security, Homeland Security

22   Investigations (“HSI”) were present.        (Id.)   HSI Special Agent (“SA”)

23   Kim Speakman and NBPD Detective David Syvock participated in an

24   operational briefing at 6:30 a.m. and the execution of the search

25   warrant.   (Id.)

26        SA Speakman was assigned to be the first person on the entry

27   team and, in that role, was tasked with carrying a long gun,

28   specifically, an M-4 rifle.       (Decl. Speakman ¶¶ 3, 8.)      An entry team

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 1   is a designated group of officers and agents who are assigned to

 2   enter the premises in order to secure the location and determine how

 3   many people are inside the residence.        (Id. ¶ 4.)    Having eight

 4   members to an entry team is typical, in part, because at least two

 5   agents are needed to clear and secure each room.          (Id.)   Here, eight

 6   individuals were designated as ET or entry team.          (Def. Mot., Ex. A.)

 7   It is typical for the first person on the entry team to be a long gun

 8   operator due to the uncertainty of the number and reaction of the

 9   occupants of the residence.      (Id. ¶ 6.)     A long gun can be either a

10   rifle or a shotgun.     (Id.)   Suspects in child exploitation

11   investigations have committed suicide when confronted by law

12   enforcement or engaged officers in gun fire.         (Id.)

13           Detective Syvock was assigned to be a member of the perimeter

14   team during the execution of the search warrant at defendant’s

15   residence.    (Decl. Syvock ¶ 3.)     A perimeter team is designated to

16   ensure the entry team’s safety, the safety of members of the public

17   who may approach who may approach the location by chance, due to

18   curiosity or with intent to disrupt the operation.           (Decl. Speakman ¶

19   5.)   The perimeter team also monitors anyone departing the residence.

20   (Id.)    In this case, five agents and officers were assigned to the

21   perimeter team.    (Id.)

22           Prior to the execution of the search warrant, Detective Syvock

23   obtained a key to the residence from Judy Hartman and provided it to

24   the entry team.    (Decl. Syvock ¶ 4.)      The key was obtained to assist

25   with entry and minimize property damage.         (Decl. Speakman ¶ 7.)         The

26   entry team proceeded to the front door and HSI SA Ron Perez knocked

27   on the door and announced police presence.          (Decl. Speakman ¶ 8.)

28   Initially, no one answered the door.        (Id.)   As a result, SA Perez

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 1   used the key to open the door.        (Id.)   SA Speakman was standing

 2   directly in front of the door as it opened with his government-issued

 3   M-4 rifle at his shoulder pointed at the door.          (Id.)   SA Speakman

 4   was the only member of the entry team tasked with having a long gun

 5   that day.   (Id.)   As the door opened, SA Speakman took approximately

 6   one step inside the residence and observed defendant in the back of

 7   the home.   (Id.)   SA Speakman initially told defendant not to move

 8   saying “Police, don’t move.”       (Id.)   SA Speakman then told defendant

 9   to put his hands up and then to put his hands up higher and directed

10   defendant to come out of the home.         (Id.)   SA Speakman instructed

11   defendant to raise his hands so that he could not do any harm to the

12   officers present.     (Id.)

13        Defendant was directed to move past the entry team onto the

14   patio.   At this time, Detective Syvock recognized the person exiting

15   the home as defendant Hartman.        (Decl. Syvock ¶ 5.)     As defendant was

16   exiting the residence, Detective Syvock contacted him on the patio

17   just outside the front door.       (Decl. Syvock ¶ 6.)     Upon initial

18   contact, Detective Syvock saw that defendant was wearing shorts and a

19   t-shirt.    (Decl. Syvock ¶ 7.)       Due to the cool climate, Detective

20   Syvock requested that a member of the search team retrieve a

21   sweatshirt for defendant to wear as they waited on the patio. (Id.)

22   Detective Syvock did not see any neighbors watching as he spoke with

23   defendant on the patio.       (Id.)   After the entry team had secured the

24   residence, Detective Syvock identified himself to defendant as a

25   Detective from NBPD and as a Task Force Officer with the Orange

26   County Child Exploitation Task Force.         (Decl. Syvock ¶ 8.)     Detective

27   Syvock advised defendant that he was not under arrest and was free to

28   leave.   (Id.)

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 1           At no time during Detective Syvock’s contact with defendant,

 2   either initially outside or during the interviews inside, did

 3   defendant request to use the restroom.            (Decl. Syvock ¶ 9.)   At no

 4   time during Detective Syvock’s contact with defendant did defendant

 5   suggest discussing the investigation in his kitchen which was

 6   occupied by agents and officers.          (Id.)   The interviews with

 7   defendant were conducted in his mother’s bedroom as it was the only

 8   room in the residence where agents were not searching for evidence.

 9   (Id.)    During the interviews, defendant always sat closest to the

10   door without obstruction to leave.         (Id.)    NBPD Detective Kristin Fox

11   was present in the room and sat across from Detective Syvock without

12   obstructing defendant’s access to the door.           (Id.)

13           SA Speakman never directed defendant to the kitchen area of the

14   residence.    (Decl. Speakman ¶ 9.)       The M-4 rifle never physically

15   touched defendant’s chest or any other part of defendant’s body.

16   (Id.)    After defendant was directed past SA Speakman, SA Speakman,

17   along with other members of the entry team, entered the residence and

18   conducted a sweep of the residence.         (Decl. Speakman ¶ 10.)      Once the

19   residence was secure, SA Speakman went to his car and put away his M-

20   4 rifle.    (Id.)   SA Speakman returned to the residence and assisted

21   with the search of the residence.         (Id.)    SA Speakman never told

22   defendant he could not use the bathroom.           (Decl. Speakman ¶ 9.)       SA

23   Speakman and Detective Syvock never handcuffed defendant or otherwise

24   physically restrained him.      (Decl. Speakman ¶ 9; Decl. Syvock ¶ 9.)

25   They never told defendant that he was not free to leave or told his

26   mother, “What, are you his attorney.”         (Decl. Speakman ¶ 9; Decl.

27   Syvock ¶ 6.)    The interviews were conducted with defendant only after

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 1   he indicated that he wanted to speak with Detective Syvock about the

 2   investigation.      (Decl. Syvock 12.)

 3           Detective Syvock recorded his interviews of defendant.          (Ex. 1,

 4   filed separately under seal).1        The video of the interview is

 5   separated into three digital files.           (Id.)   File RECO0003 runs from

 6   time stamp 07:14:51 to 07:44:51.            (Id.)   File RECO0004 runs from time

 7   stamp 07:44:52 to 07:48:42.         (Id.)    File RECO0005 runs from time

 8   stamp 07:56:00 to 08:24:28.         (Id.)    The video begins at 07:14:51 and

 9   defendant walks into the room at 07:15:36.            (Id.)   From the time

10   defendant enters the room until 07:19:10, less than four minutes,

11   Detective Syvock introduces himself and explains the situation.

12   (Id.)       At 07:19:10, the following exchange occurs:

13           SYVOCK:     And I made it clear to you, right.        You are not under

14                       arrest, right.    If you want to get out and walk out of

15                       here right now, please do.        I would like to share my

16                       investigation with you. If you do leave, just let us

17                       know how we can secure your house.        We are going to do

18                       our investigation.       But like I said, I want to share

19                       my investigation with you and hopefully get an

20                       understanding from you as to why you were doing this.

21                       Was it curiosity?       I mean, do you, have you gone out

22                       and met kids?

23           HARTMAN:    No, no. It’s as basic as can be, just curiosity.

24                       Just, . . .

25           SYVOCK:     Okay.

26

27           1
            The recording is being filed under seal because it contains
28   personal identifying information of minors.

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 1           HARTMAN:   strange predilection that I obviously deleted,

 2                      reinstalled, deleted, reinstalled.

 3           SYVOCK:    Okay, I would like to hear.      But, if you don’t mind

 4                      sharing it with me.      I would like to hear.

 5           HARTMAN:   I have never contacted kids.      I don’t, I don’t con . .

 6                      . chat with people.

 7           SYVOCK:    So, it sounds like you are willing . . . you don’t

 8                      have any place to go right now.

 9           HARTMAN:   No.

10           SYVOCK:    So, I am not holding you up, or anything, right.

11           HARTMAN:   No.

12           SYVOCK:    So tell me when did you first start using the peer to

13                      peer network.   How many years ago?

14           HARTMAN:   A long time ago.      Probably 2000.

15   (Id.)    This exchange ends at time stamp 07:20:18.         (Id.)   Defendant

16   makes statements regarding his involvement with child pornography

17   until time stamp 07:32:30.       (Id.)    Then, defendant answers Detective

18   Syvock’s questions regarding defendant’s interactions with children

19   until time stamp 07:37:15 when it switches back to a discussion of

20   defendant’s viewing of child pornography until time stamp 07:38:00.

21   (Id.)    At this point, defendant answers questions about a child

22   depicted on defendant’s social media account until 07:43:08 when the

23   following exchange occurs:

24           SYVOCK:    Do you have any questions for us?

25           HARTMAN:   No, thanks, pretty straight forward.

26           SYVOCK:    We got to finish doing our search and stuff like that

27                      so we are going to be here for a little bit.         You are

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 1                      free to stay, you can’t wander throughout the house

 2                      just because we have investigators in the house.

 3           HARTMAN:   Can I get a glass of water?

 4           SYVOCK:    Yeah, sure, absolutely.     Do you want to sit out on the

 5                      front balcony?    Is that, would you be more comfortable

 6                      there?

 7           HARTMAN:   I would rather not be outside where my neighbors are

 8                      going to . . .

 9           SYVOCK:    Okay, okay, fair enough, I get that.       So we haven’t

10                      searched this room yet.     Whose room is this?

11           HARTMAN:   My mom’s room.

12           SYVOCK:    Okay, so what I would have to do, is, cause, so I can

13                      have you sit on the couch out there if you want to do

14                      that.    I can’t leave you in a room that hasn’t been

15                      secured, if that makes sense to you.

16           HARTMAN:   Definitely.

17   (Id.)    This exchange ends at time stamp 07:43:50.         (Id.)   The

18   remainder of the interview involves defendant’s interactions with

19   children he knows.      (Id.)

20           Throughout the interview, Detective Syvock’s tone is

21   professional and calm.       (Id.)   Defendant does not appear to be

22   distressed, confused or disoriented.        (Id.)    Detective Syvock did not

23   see any indications that defendant was suffering from lack of sleep

24   or that defendant displayed symptoms of recent alcohol intoxication.

25   (Decl. Syvock ¶ 13.)

26           III. ARGUMENT

27           The Fifth Amendment provides that [n]o person... shall be

28   compelled in any criminal case to be a witness against himself.             U.S.

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 1   Const. amend. V.     In Miranda v. Arizona, the Supreme Court

 2   established a prohylactic, procedural mechanism of advising

 3   defendants of certain rights to safeguard the core of the Fifth

 4   Amendment: a privilege against the inherently coercive nature of

 5   custodial interrogation.      384 U.S. 436, 444 (1966).       Miranda warnings

 6   must be given only when a suspect is both in custody and subject to

 7   state interrogation.      See Illinois v. Perkins, 496 U.S. 292, 297

 8   (1990) ([i]t is the premise of Miranda that the danger of coercion

 9   results from the interrogation of custody and official

10   interrogation).     Custody involves the deprivation of freedom of

11   action in any significant way.       Miranda, 384 U.S. at 444.       To

12   determine whether a suspect is in custody a court assesses the

13   objective circumstances of the situation from the perspective of a

14   reasonable person in the suspect’s position.          Berkemer v. McCarty,

15   468 U.S. 420, 442 (1984).      Whether an arrestee is in custody depends

16   on the objective circumstances of the interrogation, not on the

17   subjective views harbored by either the interrogation officers or the

18   persons being questioned.      Stansbury v. California, 511 U.S. 318, 323

19   (1994).

20              A.   Law Enforcement’s Questioning of Defendant on
                     February 5, 2015 Did Not Constitute Custodial
21                   Interrogation and, Therefore, Did Not Require a
                     Miranda Advisement
22
           The February 5, 2015 interview at defendant’s home was
23
     consensual and non-custodial.       Facts relevant to the determination of
24
     whether a person is in custody “include the language used by the
25
     officers, the physical characteristics of the place where the
26
     questioning occurs, the degree of pressure applied to detain the
27
     individual, the duration of the detention, and the extent to which
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 1   the person was confronted with evidence of guilt.” United States v.

 2   Hernandez, 476 F.3d 791, 796 (9th Cir. 2007) (quoting United States

 3   v. Butler, 249 F.3d 1094, 1099 (9th Cir.2001)).          Here, there is no

 4   evidence, other than his own self-serving statements, that defendant

 5   was in custody and did not consent to speak with the investigators.

 6   The government contends the entire duration of the interviews is

 7   admissible.     However, at trial, the government only intends on

 8   introducing from time stamp 07:14:51 to 07:32:30, 07:37:15 to

 9   07:38:00, and 07:43:08 to 07:43:50 in its case-in-chief.            The

10   government reserves the right to move for the introduction of other

11   portions of the interview if they become relevant or for impeachment

12   purposes.    The government is submitting, and requests that the Court

13   review, the entire duration of the interview video recording because

14   it demonstrates the physical setting of the room, Detective Syvock’s

15   actions, tone, and demeanor, and that defendant did not appear

16   intimidated, distressed or anxious to terminate the interview.

17         As to the first factor used to determine if an individual is in

18   custody, the language used by the officers, Detective Syvock employed

19   a calm tone and his questioning was not aggressive.           After conducting

20   introductions and an explanation of the investigation, Detective

21   Syvock reiterated what he had previously told defendant, that

22   defendant was not under arrest and was free to leave.

23         SYVOCK:     And I made it clear to you, right.        You are not under

24                     arrest, right.    If you want to get out and walk out of

25                     here right now, please do.      I would like to share my

26                     investigation with you. If you do leave, just let us

27                     know how we can secure your house.        We are going to do

28                     our investigation.       But like I said, I want to share

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 1                     my investigation with you and hopefully get an

 2                     understanding from you as to why you were doing this.

 3   (Ex. 1 at time stamp 07:19:10.)        Detective Syvock reinforced that he

 4   was serious that defendant could leave by inviting defendant to

 5   leave, “[i]f you want to get out and walk out of here right now,

 6   please do” and explained to defendant what would happen if defendant

 7   left, law enforcement would take steps to secure the residence.

 8   (Id.)    Defendant Syvock invites, rather than orders, defendant to

 9   share information about his involvement with child pornography, “if

10   you don’t mind sharing it with me.         I would like to hear.”     (Id.)

11   Defendant confirms that the interview is not preventing him from

12   going anywhere or holding him up.          (Id.)

13           The second factor is the physical surroundings of the

14   interrogation.     Here, the questioning occurred in defendant’s home

15   during the execution of the search warrant.          An entry and perimeter

16   team were necessary to secure the residence and protect the officers

17   and the public.     (Decl. Speakman ¶¶ 4, 5.)       This case is

18   distinguishable from United States v. Craighead, 539 F.3d 1073 (9th

19   Cir. 2008), cited by defendant.        In Craighead, the defendant was a

20   member of the military and eight different armed officers

21   representing three different law enforcement agencies were present

22   during the execution of the search warrant at his residence.             Id. at

23   1085.    The fact the numerous officers were from different agencies,

24   including both civilian and military law enforcement, was relevant

25   because Craighead was unclear whether the agencies were acting in

26   coordination.    It also caused Craighead to doubt whether a particular

27   agent spoke for all the agencies.          Here, while there were fourteen

28   law enforcement officers and agents, there is no evidence defendant

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 1   was confused regarding Detective Syvock’s authority.           At no time

 2   during the recorded interview does defendant express to Detective

 3   Syvock that defendant wants to leave or that someone told him not to

 4   leave.    Defendant claims he needed to use the restroom.          However,

 5   defendant did not tell Detective Syvock that he needed to use the

 6   restroom and when defendant asks for a glass of water, Detective

 7   Syvock’s response is “[y]eah, sure, absolutely.”           (Ex. 1 at

 8   approximate time stamp 07:43:08.)          This response is not consistent

 9   with defendant’s claim that his movement was restricted or that the

10   search team resisted his requests for basic needs.

11         While Craighead was not handcuffed or physically restrained, he

12   was interviewed by two agents in a back storage closet, alone, with

13   an armed agent wearing a "raid vest" blocking his exit.            In contrast,

14   as the video demonstrates, defendant spoke to investigators in his

15   mother’s room, not a closet, had a clear method of egress that was

16   not blocked by law enforcement and Detective Syvock’s clothing was

17   casual.    When offered the option of going to sit on the front

18   balcony, defendant told Detective Syvock that he would rather not be

19   outside.   (Ex. 1 at time stamp 07:43:08-07:43:50.)          This demonstrates

20   defendant’s understanding that he had the option to move outside the

21   apartment.    When faced with prosecution, defendant claims that he

22   felt isolated from his mother, however, at no time during the video

23   recorded interview did defendant ask for his mother to be present or

24   to take a break to speak with her.         Throughout the recorded

25   interview, defendant’s body language and demeanor is relaxed.             While

26   SA Speakman did utilize a rifle as part of entering and securing the

27   residence, its use was limited in duration and scope.            (Decl.

28   Speakman ¶¶ 8-10.)     Defendant was only briefly in the presence of the

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 1   rifle while he existed the front door and SA Speakman was not the

 2   person who interviewed defendant.

 3         The third factor, the degree of pressure applied to detain the

 4   individual, also weighs in favor of a finding that defendant was not

 5   in custody.    While Detective Syvock questioned defendant when he

 6   believed defendant was not being truthful, the overall tone of the

 7   interview was amiable and calm.        No undue pressure was put on

 8   defendant to remain in the apartment or participate in the interview.

 9         The fourth factor is the duration of the interview.           The

10   interview was of a limited duration, approximately 90 minutes with a

11   break approximately halfway through the interview.           (Ex. 1.)

12   Furthermore, the statements the government seeks to introduce

13   occurred primarily during the first twenty-five minutes of the

14   interview.

15         Finally, the extent to which the person was confronted with

16   evidence of guilt did not convert the interview into a custodial

17   interrogation.     While defendant was asked about some items found on

18   his social media and computer, the record clearly shows that there

19   was nothing oppressive, coercive, deceptive, or overbearing in the

20   agents' questioning.      See United States v. Bassignani, 575 F.3d 879,

21   884 (9th Cir. 2009).      Furthermore, defendant was asked about children

22   he had contact with after he made the incriminating statements

23   regarding child pornography that the government intends to introduce

24   at trial. Defendant’s incriminating statements were not made under

25   the degree of restraint associated with formal arrest.            Therefore, no

26   Miranda advisement was required and defendant’s motion as to his

27   February 5, 2015 statements should be denied.

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 1         IV.   CONCLUSION

 2         For the reasons set forth above, the defendant’s September 18,

 3   2015 motion to suppress evidence should be denied.

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